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 1   STEPHEN J. ERIGERO (SBN 11562)
     stephen.erigero@rmkb.com
 2   TIMOTHY J. LEPORE (SBN 13908)
     timothy.lepore@rmkb.com
 3   ROPERS MAJESKI KOHN & BENTLEY
     3753 Howard Hughes Pkwy., Ste. 200
 4   Las Vegas, NV 89169
     Telephone:      (702) 954-8301
 5   Facsimile:       (213) 312-2001
 6   ALLAN E. ANDERSON (pro hac vice)
 7   allan.anderson@arentfox.com
     ARENT FOX LLP
 8   555 West Fifth Street, 48th Floor
     Los Angeles, California 90013-1065
 9   Telephone: 213.629.7400
     Facsimile: 213.629.7401
10   Attorneys for Defendant
11   WALMART INC.

12
13                             UNITED STATES DISTRICT COURT
14                                     DISTRICT OF NEVADA
15
16   KORTNEY OLSON,                               Case No. 2:20-cv-00152-GMN-NJK
17                       Plaintiff,               JOINT STIPULATION FOR
                                                  DISMISSAL PURSUANT TO
18   v.                                           F.R.CIV.P. 41 (a)(1)(A)(ii)
19   WALMART STORES INC. AND                      Judge: Gloria M. Navarro
     WONDER NATION,                               Magistrate Judge: Nancy J. Koppe
20
                         Defendants.
21
22
                                          STIPULATION
23
24          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between
25   the parties hereto that this action may be dismissed with prejudice as to all parties;
26   each party to bear her/its own attorneys’ fees and costs. This stipulation is made as
27   the matter has been resolved to the satisfaction of all parties.
28
     2:20-cv-00152-GMN-NJK                                      JOINT STIPULATION FOR DISMISSAL

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 1   Dated: July__, 2020                 KORTNEY OLSON
 2
     [Signed Stipulation as sent by
 3   Plaintiff Kortney Olson on
     following page]
 4                                    By:
                                        KORTNEY OLSON, Plaintiff
 5
 6
     Dated: July 9, 2020                 ROPERS MAJESKI KOHN &
 7                                       BENTLEY PC AND ARENT FOX LLP
 8
 9
10                                    By: /s/ Allan E. Anderson
                                        STEPHEN J. ERIGERO (SBN 11562)
11                                      TIMOTHY J. LEPORE (SBN 13908)
12                                       ALLAN E. ANDERSON
13                                       Attorneys for Defendant
                                         WALMART INC.
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     2:20-cv-00152-GMN-NJK                              JOINT STIPULATION FOR DISMISSAL

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     2:20-cv-00152-GMN-NJK                             JOINT STIPULATION FOR DISMISSAL

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 1
                                 UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
 3
 4
      KORTNEY OLSON,                              Case No. 2:20-cv-00152-GMN-NJK
 5
                           Plaintiff,             [PROPOSED] ORDER GRANTING
 6                                                JOINT STIPULATION FOR
      v.                                          DISMISSAL
 7
      WALMART STORES INC. AND                     Complaint served: February 7, 2020
 8    WONDER NATION,
                                                  Judge: Gloria M. Navarro
 9                         Defendants.            Magistrate Judge: Nancy J. Koppe
10
11           Pursuant to the Joint Stipulation For Dismissal of Plaintiff Kortney Olson

12    and Defendant Walmart Inc., the Court hereby orders that all claims in the above-

13    captioned matter are dismissed in their entirety with prejudice. Each side shall bear

14    its own costs and attorneys’ fees.

15
16    IT IS SO ORDERED.
17               9
      Dated this __ day of July, 2020.
18
19
20                                                  Gloria M. Navarro, District Judge
                                                    United States District Court
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      2:20-cv-00152-GMN-NJK                                    JOINT STIPULATION FOR DISMISSAL

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